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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.

  HOWARD MICHAEL CAP LAN ,

              Plaintiff,

              vs.

  RIVER PARK HOTEL AND SUITES,
  INC., a Florida Profit Corporation,
  MEGAPOLIS, CORP., a Florida Profit
  Corporation and CASA BELLA - TOY 14,
  INC., a Florida Profit Corporation,

            Defendants.
  _______________________________/

                                    COMPLAINT

  Plaintiff HOWARD MICHAEL CAPLAN (hereinafter “Plaintiff”), through the
  undersigned counsel, hereby files this complaint and sues RIVER PARK HOTEL
  AND SUITES, INC. (“HOTEL”), MEGAPOLIS, CORP., (“MEGAPOLIS”) and CASA
  BELLA - TOY 14, INC. (“CASA BELLA”) (hereinafter, collectivel y referred to as
  “Defendants”), for declaratory and injunctive relief; for discrimination based on
  disabilit y; and for the resultant attorney's fees, expenses, and costs (including,
  but not limited to, court costs and expert fees), pursuant to 42 U.S.C. §12181 et.
  seq., ("AMER ICANS WITH DISABILITIES ACT OF 1990," or "ADA") and
  alleges:


  JURISDICTION
  1.    This Court is vested with original jurisdiction over this action pursuant to
  28 U.S.C. §1331 and § 1343 for Plaintiff’s claims arising under Title 42 U.S.C.
  §12181 et. seq., based on Defendant s’ violations of Title III of the Americans
  with Disabilities Act of 1990, (hereinafter referred to as the "ADA"). See also
  28 U.S.C. §2201 and §2202.


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  VENUE
  2.     The venue of all events giving rise to this lawsuit is located in Miami-
  Dade Count y, Florida. Pursuant to 28 U.S.C. §1391(B) and rule 3.1 of Local
  Rules of the United States District Court for the Southern District of Florida,
  this is the designated court for this suit.


  PARTIES
  3.     Plaintiff, HOWARD MICHAEL CAP LAN , is a resident of the State of
  Florida. At the time of Plaintiff’s visit to Travelodge by Wyndham Miami Biscayne
  Bay (“Subject Facility”), Plaintiff suffered from a “qualified disabilit y” under the
  ADA, which substantiall y limits Plaintiff’s major life activities, including but
  not limited to walking, and requires the use of a mobilit y aid . The Plaintiff
  personall y visited Travelodge by Wyndham Miami Biscayne Bay, but was denied full
  and equal access, and full and equal enjoyment of the facilities, services, goods,
  and amenities within Travelodge by Wyndham Miami Biscayne Bay, which is the
  subject of this lawsuit. The Subject Facilit y is a hotel and Plaintiff wanted to
  obtain lodging, but was unable to due to the discriminatory barriers enumerated
  in Paragraph 15 of this Complaint.


  4.     In the alternative, Plaintiff, HOWARD MICHAEL CAPLAN , is an
  advocate of the rights of similarl y situated disabled persons and is a “tester” for
  the purpose of asserting his civil rights and monitoring, ensuring and
  determining whether places of public accommodation are in compliance with the
  ADA.


  5.     Defendants, HOTEL, MEGAPOLIS and CASA BELLA are authorized to
  conduct business and are in fact conducting business within the State of Florida.
  The Subject Facility is located at 5255 Biscayne Blvd., Miami, FL 33137. Upon
  information and belief, HOTEL is the lessee and/or operator of the Real Propert y
  and therefore held accountable of the violations of the ADA in the Subject
  Facilit y which is the matt er of this suit. Upon information and belief,

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  MEGAPOLIS and CASA BELLA are the owners and lessors of the Real Propert y
  where the Subject Facilit y is located and therefore held accountable for the
  violations of the ADA in the Subject Facilit y which is the matter of this suit.


  CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT
  6.    Plaintiff adopts and re-alleges the allegations stated in paragraphs 1
  through 5 of this complaint, as are further explained herein.


  7.    On Jul y 26, 1990, Congress enacted the Americans w ith Disabilities Act
  ("ADA"), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one
  and a half years from enactment of the statute to implement its requirements.
  The effective date of Title III of the ADA was January 26, 1992, or January 26,
  1993 if Defendants had ten (10) or fewer employees and gross receipts of
  $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).


  8.    As stated in 42 U.S.C. §12101(a)(1) -(3), (5) and (9), Congress found,
  among other things, that:

        i. some 43,000,000 Americans have one or more physical or mental
          disabilit y, and this number shall increase as the population continues to
          grow and age;

        ii. historicall y, societ y has tended to isolate and segregate individuals
          with disabilities and, despite some improvements, such forms of
          discrimination against disabled individuals continue to be a pe rvasive
          social problem, requiring serious attention;

        iii. discrimination against disabled individuals persists in such critical
          areas as employment, housing, public accommodations, transportation,
          communication, recreation, institutionalization, health se rvices, voting
          and access to public services and public facilities;

        iv. individuals with disabilities          continuall y suffer    forms of
          discrimination,   including:    outright    intentional   exclusion;  the
          discriminatory    effects    of   architectural,     transportation,  and
          communication barriers; failure to make modifications to existing
          facilities and practices; exclusionary qualification standards and
          criteria; segregation, and regulation to lesser services, programs,

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           benefits, or other opportunities; and,

        v. the continuing existence of unfair and unnecessary discrimination and
          prejudice denies people with disabilities the opportunit y to compete on
          an equal basis and to pursue those opportunities for which this countr y
          is justifiabl y famous, and costs the United States billions of dollars in
          unnecessary expenses resulting from dependency and non -productivit y.

  9.    As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitl y stated
  that the purpose of the ADA was to:

        i. provide a clear and comprehensive national ma ndate for the elimination
          of discrimination against individuals with disabilities;

        ii. provide clear, strong, consistent, enforceable standards addressing
          discrimination against individuals with disabilities; and,

        iii. invoke the sweep of congressional a uthorit y, including the power to
          enforce the fourteenth amendment and to regulate commerce, in order to
          address the major areas of discrimination faced on a daily basis b y
          people with disabilities.

  10.   Pursuant to 42 U.S.C. §12181(7), and 28 CFR §36.104, Title III, no
  individual may be discriminated against on the basis of disabilit y with regards
  to the    full   and   equal   enjoyment   of   the   goods,   services,   facilities, or
  accommodations of any place of public accommodation by any person who
  owns, leases (or leases to), or operates a p lace of public accommodation.
  Travelodge by Wyndham Miami Biscayne Bay is a place of public accommodation by
  the fact it is an establishment that provides goods/services to the gen eral public,
  and therefore, must compl y with the ADA. The Subject Facilit y is open to the
  public, its operations affect commerce, and it is a hotel. See 42 U.S.C. Sec.
  12181 (7) and 28 C.F.R. 36.104. Therefore, the Subject Facilit y is a public
  accommodation that must compl y with the ADA.


  11.   The Defendants have discriminated, and continue to discriminate against
  the Plaintiff, and others who are similarly situated, by denying access to, and
  full and equal enjoyment of goods, services, facilities, privileges, advan tages
  and/or accommodations at Travelodge by Wyndham Miami Biscayne Bay located at

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  5255 Biscayne Blvd., Miami, FL 33137, as prohibited by 42 U.S.C. §12182, and 42
  U.S.C. §12101 et. seq.; and by failing to remove architectural barriers pursuant
  to 42 U.S.C. §12182(b)(2)(A)(iv).


  12.      Plaintiff has visited the Subject Facilit y, and has been denied full, safe,
  and equal access to the facilit y and therefore suffered an injury in fact.


  13.      Plaintiff shall suffer a future injury as Plaintiff intends to return and
  enjoy the goods and/or services at the Subject Facilit y within the next six
  months. The Subject Facilit y is in close proximit y to Plaintiff’s residence and is
  in an area frequently travelled by Plaintiff. Furthermore, Plaintiff will also
  return to monitor compliance with the ADA. However, Plaintiff is precluded
  from doing so by the Defendants' failure and refusal to provide people with
  disabilities with full and equal access to their facilit y . Therefore, Plaintiff
  continues to suffer from discrimination and injury due to the architectural
  barriers, which are in violation of the ADA.


  14.      Pursuant to the mandates of 42 U.S.C. §12134(a), on Jul y 26, 1991, the
  Department of Justice, Office of the Attorney General, promulgated Federal
  Regulations to implement the requirements of the ADA. The ADA Accessibilit y
  guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part 36, may cause
  violators to obtain civil penalties of up to $55,000 for the fi rst violation and
  $110,000 for any subsequent violation.


  15.      The Defendants are in violation of 42 U.S.C. §12181 et. seq., and 28

  C.F.R. 36.302 et. seq., and are discriminating against the Plaintiff with the

  following specific violations which Plaintiff personall y encountered and/or has

  knowledge of:

        a) The lodge parking facilities do not provide a compliant accessible parking space. 2010



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        ADA Standards 502.1

     b) The front (west) inside court parking facility has eleven (11) guest parking spaces, the

        north parking facility has twelve (12) guest parking spaces and the south parking facility

        has eleven (11) guest parking spaces. There are zero (0) accessible parking spaces. Two

        (2) compliant accessible parking space with adjacent access aisles are required. 2010

        ADA Standards 208.2

     c) The parking facility does not provide directional and informational signage to a

        compliant accessible parking space. 2010 ADA Standards 216.5

     d) There is no compliant access aisle attached to an accessible route serving any existing

        parking space which would allow safe entrance or exit of vehicle for accessible persons

        requiring mobility devices. 2010 ADA Standards 502.3

     e) There is currently no existing accessible route to help persons with disabilities safely

        maneuver through the parking facilities as required in 2010 ADA Standards 502.3

     f) There is a vertical change in level (steps) leading from the parking lots up to the lodge

        sidewalks and landings. 2010 ADA Standards 301.1

     g) There are vertical changes in level at the thresholds from the outside building sidewalks

        up to the lodge guest room entrance doors creating a barrier for persons with a mobility

        disability from entering rooms. Changes in level of 1/4 inch high maximum are permitted

        to be vertical.2010 ADA Standards 303.2

     h) There is a vertical change in level (steps) from the driveway up to the concrete landing in

        front of the main office entrance creating a barrier for persons with mobility disabilities.

        A sign is needed to direct customers to ramped walkway. 2010 ADA Standards 303.2

     i) There is no compliant accessible lodge guest room. In transient lodging facilities, guest



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           rooms with mobility features must be provided in accordance with Table 224.2 which

           states if facility has between 1-25 guest rooms one accessible room is required. 2010

           ADA Standards 224.2

        j) All buildings, structures, or facilities licensed as a lodge, motel, or condominium

           pursuant to chapter 509, F.S., a number of rooms equaling at least 5 percent of the guest

           rooms minus the Total Number of Required (accessible) Rooms required by Table 224.2

           must provide special accessibility features of 806.4. 2010 ADA Standards 224.2, 806.2,

           2015 Florida Accessibility Code 224.6.3

  16.      Upon information and belief there ar e other current violations of the ADA
  at Travelodge by Wyndham Miami Biscayne Bay. Onl y upon full inspection can all
  violations be identified. Accordingl y, a complete list of violations will require
  an on-site inspection by Plaintiff’s representatives pur suant to Rule 34b of the
  Federal Rules of Civil Procedure.


  17.      Upon information and belief, Plaintiff alleges that removal of the
  discriminatory barriers and violations is readil y achievable and technicall y
  feasible. To date, the readil y achievable barriers and other violations of the
  ADA still exist and have not been remedied or altered in such a way as to
  effectuate compliance with the provisions of the ADA.


  18.      Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304,
  the Defendants were required to make the establishment a place of public
  accommodation, accessible to persons with disabilities by January 28, 1992. As
  of this date the Defendants have failed to compl y with this mandate.


  19.      The Plaintiff has been obligated to retain th e undersigned counsel for the
  filing and prosecution of this action. Plaintiff is entitled to have its reasonable
  attorney's fees, costs and expenses paid by the Defendants, pursuant to 42


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  U.S.C. §12205.


  20.   Pursuant to 42 U.S.C. §12188, this Court is ves ted with the authorit y to
  grant Plaintiff injunctive relief, including an order to alter the subject facilities
  to make them readily accessible and useable by individuals with disabilities to
  the extent required by the ADA, and closing the Subject Facilit y until the
  requisite modifications are completed.


  REQUEST FOR RELIEF
  WHEREFORE, the Plaintiff demands judgment against the Defendants and
  requests the following injunctive and declaratory relief:


  21. That this Honorable Court declares that the Subject Fa cility owned, operated
  and/or controlled by the Defendants is in violation of the ADA;


  22.   That this Honorable Court enter an Order requiring Defendants to alter the
  Subject Facilit y to make it accessible to and usable by individuals with
  disabilities to the full extent required by Title III of the ADA;


  23.   That this Honorable Court enter an Order directing the Defendants to
  evaluate and neutralize their policies, practices and procedures toward persons
  with disabilities, for such reasonable time so as to allow the Defendants to
  undertake and complete corrective procedures to the Subject Facilit y;


  24.   That this Honorable Court award reasonable attorney's fees, all costs
  (including, but not limited to court costs and expert fees) and other expenses of
  suit, to the Plaintiff; and


  25.   That this Honorable Court award such other and further relief as it deems
  necessary, just and proper.



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  Dated this September 20, 2019.

  Respectfull y submitted by:

  Ronald E. Stern
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  Attorney for Plaintiff, HOWARD MICHAEL CAPLAN




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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.

  HOWARD MICHAEL CAP LAN ,

              Plaintiff,

              vs.

  RIVER PARK HOTEL AND SUITES,
  INC., a Florida Profit Corporation,
  MEGAPOLIS, CORP., a Florida Profit
  Corporation and CASA BELLA - TOY 14,
  INC., a Florida Profit Corporation,

            Defendants.
  _______________________________/

                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 20, 2019, I electronicall y filed the
  Complaint along with a Summons for each Defendant with t he Clerk of Court
  using CM/ECF. I also certify that the aforementioned documents are being
  served on all counsel of record, corporations, or pro se parties identified on the
  attached Service List in the manner specified via Service of Process by an
  authorized Process Server, and that al l future pleadings, motions and documents
  will be served either via transmission of Notices of Electronic Filing generated
  by CM/ECF or Via U.S. Mail for those counsel or parties who are not authorized
  to receive electronicall y Notices of Electronic Filing .

  By: Ronald E. Stern
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                                    SERVICE LIST:

   HOWARD MICHAEL CAP LAN , Plaintiff, vs. RIVER PARK HOTEL AND SUITES,
    INC., a Florida Profit Corporation, MEGAPOLIS, CORP., a Florida Profit Corporation and
                   CASA BELLA - TOY 14, INC., a Florida Profit Corporation

               United States District Court Southern District Of Florida

                                        CASE NO.


  RIVER PARK HOTEL AND SUITES, INC.

  REGISTERED AGENT:

  MARTINEZ-MIYASHIKI, FRANCISCO M.
  555 NE 15TH STREET, SUITE # 100
  MIAMI, FL 33132

  VIA PROCESS SERVER


  MEGAPOLIS, CORP.

  REGISTERED AGENT:

  MARTINEZ-MIYASHIKI, FRANCISCO M.
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  MIAMI, FL 33132

  VIA PROCESS SERVER


  CASA BELLA - TOY 14, INC.

  REGISTERED AGENT:

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  MIAMI, FL 33132

  VIA PROCESS SERVER




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